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                                                                                   2022 Jun-07 AM 11:30
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

BETH BOYANTON,                            )
individually,                             )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )   CASE NO. ___________________
                                          )
BBV GARDENDALE PLAZA II,                  )
LLC, a domestic limited liability         )
company,                                  )
                                          )
      Defendant.                          )

                                    COMPLAINT

       Plaintiff, Beth Boyanton (hereinafter “Plaintiff” and/or “Ms. Boyanton”)

hereby sues Defendant, BBV Gardendale Plaza II, LLC, a domestic limited liability

company (hereinafter “Defendant”), for injunctive relief, attorneys’ fees, litigation

expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. §

12101, et seq. (hereinafter “ADA”), and the ADA Accessibility Guidelines, 28

C.F.R. Part 36 (hereinafter “ADAAG”). In support thereof, Plaintiff respectfully

shows unto this Court as follows:

                         JURISDICTION AND VENUE

      1.     This is an action for declaratory and injunctive relief pursuant to Title

III of the ADA. This Court is vested with original jurisdiction over the subject matter



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of this action pursuant to 28 U.S.C. §§§ 1331, 1343(a)(3) and 1343(a)(4) for

violations of Title III of the ADA.

       2.     Venue is properly located in the Northern District of Alabama pursuant

to 28 U.S.C. § 1391(b) based on the fact that the real property that is the subject of

this action is located in this district and all events giving rise to this lawsuit occurred

in this judicial district.

                                       PARTIES

       3.     Plaintiff, Beth Boyanton, is an independent, of age, Alabama resident

with a mobility disability that requires her to use a wheelchair for mobility.

Plaintiff’s condition constitutes a physical impairment which impacts and

substantially limits the major life activity of walking. Therefore, Ms. Boyanton

qualifies as an “individual with disabilities” as defined by the ADA.

       4.     In addition to self-advocacy, Ms. Boyanton is also an independent

advocate for the rights of similarly situated disabled persons and is a “tester” for the

purpose of enforcing her civil rights, monitoring, determining, and uncovering

discriminatory barriers to equal access for the purpose of ensuring the accessibility

of public accommodations for wheelchair users such as herself as mandated by the

ADA. Ms. Boyanton’s motivation to return to a specific location stems, in part, from

her desire to utilize ADA litigation to make areas that she frequents more accessible

for herself and others. Having filed this lawsuit, Ms. Boyanton will hereafter


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regularly and frequently perform visual inspections of the subject property with the

intent to enter, shop and evaluate the site when/if it is repaired and made accessible

to wheelchair users as required by the ADA.

      5.     Defendant, BBV Gardendale Plaza II, LLC, is a domestic limited

liability company registered to do business, and is doing business, in the State of

Alabama and within this judicial district.

      6.     Defendant is the owner, landlord or lessor and/or operator, tenant or

lessee of the real property and improvements which is the subject of this action.

Specifically, Defendant owns and/or operates The Plaza II, a multi-tenant public

business plaza located at 550 Fieldstown Road, Gardendale, Alabama, 35071, its

attendant facilities, including vehicular parking and exterior paths of travel within

the parcel. The subject premises is identified by Jefferson County Assessor’s office

as Parcel No. 14-00-11-4-010-016.000 (hereinafter the “Subject Property” and/or

“Subject Facility” and/or “Subject Premises”).

                                      FACTS

      7.     The parking facilities, exterior paths of travel, and tenant space

entrance/exit doors, are each examples of the services, facilities, privileges,

advantages, and opportunities offered to able-bodied patrons of Defendant’s Subject

Property.




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      8.       Ms. Boyanton resides in Jefferson County, Alabama and only a short

distance from the offending Defendant’s property location.

      9.       Prior to and in May 2022 and continuously from that time to the present,

the Subject Property has failed to comply with the ADA and its implementing

regulations.

      10.      A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Subject Property and prevented her full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Subject Property include, but are not limited to:

                              ACCESSIBLE PARKING

        a.     There is no upright signage (displaying the International
               Symbol of Accessibility) designating any parking spaces
               as accessible in violation of Section 4.6 of the 1991
               ADAAG and Section 502 of the 2010 ADAAG. This
               violation made it dangerous for Plaintiff to utilize the
               parking facility at the Subject Property and caused
               Plaintiff to suffer feelings of isolation, social exclusion,
               and loss of opportunity.

        b.     No accessible parking spaces or access aisles are provided,
               or alternatively, the paint striping and upright signage that
               once delineated and identified the accessible parking space
               and access aisle have not been maintained so as to clearly
               mark the location of accessible parking for wheelchair
               users because of Defendant’s practice of failing to
               maintain the accessible parking surface and upright
               signage in violation of 28 C.F.R. § 36.211, Section 4.6 of
               the 1991 ADAAG, and Section 502.3.3 of the 2010
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     ADAAG. This violation made it dangerous for Plaintiff to
     utilize the parking facility at the Subject Property and
     caused Plaintiff to suffer feelings of isolation, social
     exclusion, and loss of opportunity.

                 ACCESSIBLE ENTRY DOORS
                      (Tenant Spaces)

c.   The tenant spaces’ public entry doors have closers that
     close too quickly. Violation: The sweep speed settings of
     the door closers for the entrance doors have not been
     maintained properly by Defendant which has caused the
     doors’ closing speeds to increase with time and use so that
     the time allowed to transition the door, from an open
     position of 90 degrees to a position of 12 degrees from the
     latch, is too brief to allow individuals with mobility
     impairments to enter and/or exit safely, independently
     and/or without difficulty, in violation of Section 4.13.10
     of the 1991 ADAAG and Section 404.2.8 of the 2010
     ADAAG. This accessible feature is not being maintained
     by Defendant in violation of 28 C.F.R. § 36.211. These
     violations prevented equal access to Plaintiff and caused
     Plaintiff to suffer feelings of isolation, social exclusion,
     and loss of opportunity.

                 MAINTENANCE PRACTICES

d.   Defendant has a practice of failing to maintain the
     accessible features of its facility, creating barriers to equal
     access for Plaintiff, as set forth herein, in violation of 28
     C.F.R. § 36.211. This practice prevented access to Plaintiff
     equal to that of Defendant’s able-bodied customers
     causing Plaintiff to suffer feelings of isolation, social
     exclusion, and loss of opportunity.

e.   Defendant has a practice of failing to maintain the
     accessible elements at the Subject Facility by neglecting
     its continuing duty to review, inspect, and discover
     transient accessible elements which by the nature of their
     design or placement, frequency of usage, passage of time,
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            exposure to weather and/or other factors, are prone to shift
            from compliant to noncompliant so that said elements may
            be discovered and remediated. Defendant failed, and
            continues to fail, to alter its inadequate maintenance
            practices to prevent future recurrence of noncompliance
            with its dynamic accessible elements in violation of 28
            C.F.R. § 36.211, the 1991 ADAAG, and the 2010
            ADAAG. These violations made it impossible for Plaintiff
            to experience the same access to the goods, services,
            facilities, privileges, advantages and accommodations of
            the Subject Facility as Defendant’s able-bodied patrons
            and caused Plaintiff to suffer feelings of isolation, social
            exclusion, and loss of opportunity.

       f.   Defendant has failed to modify its discriminatory
            maintenance practices to ensure that, pursuant to its
            continuing duty under the ADA, the Subject Property
            remains readily accessible to and usable by disabled
            individuals, including Plaintiff, as set forth herein, in
            violation of 28 C.F.R. § 36.302 and 36.211. This failure
            by Defendant prevented access to Plaintiff equal to that of
            Defendant’s able-bodied customers causing Plaintiff to
            suffer feelings of isolation, social exclusion, and loss of
            opportunity.

      11.   The discriminatory violations described above are not an exhaustive list

of Defendant’s current barriers to equal access and violations of the ADA because

Plaintiff was unable to access and assess all areas of the Subject Premises herself

due to the architectural barriers present and encountered. A complete list of the

Subject Property’s ADA violations affecting Plaintiff as a wheelchair user, and the

remedial measures necessary to remove same, will require an on-site inspection by

Plaintiff’s representatives pursuant to Federal Rule of Civil Procedure 34. Once

Plaintiff personally encounters discrimination, as alleged herein, or learns of
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discriminatory violations through expert findings of personal observation, she has

actual notice that Defendant does not intend to comply with the ADA.

      12.    Defendant’s architectural barriers fail to meet the minimum

requirements of the 1991 ADAAG, and the 2010 ADAAG, as adopted by the U.S.

Department of Justice. In instances where the 2010 ADAAG standards do not apply,

the 1991 ADAAG standards apply, and the alleged violations set forth herein can be

modified by Defendant to comply with the 1991 ADAAG standards.

      13.    Ms. Boyanton personally encountered, engaged and/or observed, or

was deterred from engaging, one and/or all of the barriers described above on

numerous prior occasions and most recently in May 2022. In engaging the barriers

where she could judiciously do so and observing those which were visible where she

could not, Plaintiff suffered legal harm and legal injury by being denied equal access

and use of the Subject Property’s products and services. She will continue to suffer

such harm and injury as a result of the barriers to equal access and ADA violations

that persist at Defendant’s shopping plaza until the violations are corrected.

      14.    Plaintiff’s access to the Subject Property and/or her full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited strictly because of Ms.

Boyanton’s disabilities. She will continue to be denied and/or limited in the future




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unless Defendant is compelled to remove the physical barriers to access and correct

the ADA violations that are noted and described in this Complaint.

      15.    Plaintiff has visited and/or been deterred from visiting the Subject

Property on multiple prior occasions, most recently in May 2022. Having now filed

suit, Plaintiff intends to perform visual inspections of the Subject Property when she

is in the area of the facility, which occurs frequently. Ms. Boyanton intends to enter

the stores within the shopping plaza as soon as the barriers to access and ADA

violations detailed in this Complaint are removed.

      16.    Plaintiff intends on revisiting the Subject Property as a regular patron

to enjoy the same opportunities, goods, and services available to Defendant’s non-

disabled patrons and she will visually inspect the Subject Property as a tester, but

will not continue to repeatedly re-expose herself to the ongoing barriers to equal

access and engage in the futile gesture of attempting to enter the stores within the

shopping plaza, businesses of public accommodation, known to Plaintiff to have

numerous and continuing ADA violations and unsafe barriers to equal access for

wheelchair users.

                                     COUNT I

      17.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993, at that time, if a defendant had 10 or fewer employees and gross

receipts of $500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).


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      18.    The Subject Property is a public accommodation and service

establishment as defined by the ADA. 42 U.S.C. § 12181.

      19.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      20.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993—see above). 42 U.S.C. § 12181 et seq.;

28 C.F.R. § 36.508(a).

      21.    The Subject Property must be, but it is not, in compliance with the ADA

and the ADAAG.

      22.    Plaintiff has attempted to, and has to the extent possible, access the

Subject Property but could not fully do so because of her disabilities and the physical

barriers to access, dangerous conditions and ADA violations that are allowed to exist

at Defendant’s Subject Property. These illegal conditions preclude and/or limit Ms.

Boyanton’s safe and equal access to the goods, services, facilities, privileges,

advantages and/or accommodations offered therein. These barriers, conditions and

ADA violations are specifically set forth in this Complaint.

      23.    Plaintiff intends to visit the Subject Property again in the very near

future, but within the next 90 days or sooner, and with the same frequency thereafter

for civil rights “tester” purposes, but also with the desire to gain equal access to and


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be able to have the opportunity to utilize the goods, services, facilities, privileges,

advantages and/or accommodations commonly offered at the Subject Property, but

will be unable to fully do so because of her disability and the physical barriers to

access, dangerous conditions and ADA violations that exist at the Subject Property

that preclude and/or limit her access to the Subject Property and/or the goods,

services, facilities, privileges, advantages and/or accommodations offered therein,

including those barriers, conditions and ADA violations specifically set forth in this

Complaint.

      24.    Defendant has discriminated against Plaintiff (and others with mobility

disabilities) by denying her access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Subject

Property, as prohibited by, and by failing to remove architectural barriers as required

by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      25.    Defendant will continue to discriminate against Plaintiff (and others

with mobility disabilities) unless and until it is compelled to remove all physical

barriers to equal access and the other ADA violations that exist at the Subject

Property, including those specifically set forth herein, thereby making the Subject

Property accessible to and usable by Plaintiff and other wheelchair users.

      26.    Removal of those barriers to equal access, dangerous conditions, and

ADA violations that were constructed prior to January 26, 1992, is readily


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achievable and can be accomplished and carried out without much difficulty or

expense to this Defendant. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9);

28 C.F.R. § 36.304.

        27.   Removal of the physical barriers and dangerous conditions at the

Subject Property is readily achievable, in part, because of the relative low cost of the

necessary modifications and the fact that Defendant has the financial resources to

make such modifications, even if only taking into account the annual $5,000.00 tax

credit and $15,000.00 tax deduction ($20,000.00 every year) made available to

Defendant by the government pursuant to Section 44 and Section 190 of the IRS

Code.

        28.   By continuing to operate the Subject Premises with discriminatory

conditions in violation of the ADA, Defendant contributes to Plaintiff’s sense of

isolation and segregation and deprives Plaintiff of the full and equal enjoyment of

the goods, services, facilities, privileges, and accommodations available to able-

bodied individuals of the general public.

        29.   Defendant is required to remove the existing architectural barriers to

the physically disabled when such removal is readily achievable for its places of

public accommodation that have existed prior to January 26, 1992, 28 C.F.R.

36.304(a); additionally, if there has been an alteration to Defendant’s place of public

accommodation since January 26, 1992, then Defendant is required to ensure to the


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maximum extent feasible, that the altered portions of the facility are readily

accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 C.F.R. § 36.402. Finally, if Defendant’s facilities were designed and

constructed for first occupancy subsequent to January 26, 1993, as defined in 28

C.F.R. § 36.401, then Defendant’s facilities must be readily accessible to and useable

by individuals with disabilities as defined by the ADA. To date, Defendant has failed

to comply with this mandate.

      30.    Plaintiff is without adequate remedy at law and is suffering irreparable

harm and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Subject Property, including those

alleged herein. Considering the balance of hardships between Plaintiff and

Defendant, a remedy in equity is warranted.

      31.    Plaintiff’s requested relief serves the public interest.

      32.    Plaintiff’s counsel is entitled to recover its reasonable attorneys’ fees

and costs of litigation, including expert fees, from Defendant pursuant to 42 U.S.C.

§§ 12188, 12205 and 28 C.F.R. § 36.505. Plaintiff will be denied full and equal

access to the Subject Premises as provided by the ADA unless the injunctive relief

requested herein is granted.




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      33.    Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including, but not limited to, an Order to alter the

Subject Facility to make it readily accessible to, and useable by, individuals with

disabilities to the extent required by the ADA, an Order closing the Subject Facility

until the requisite modifications are completed, and an Order directing Defendant to

fulfill its continuing duty to maintain the accessible features at the Subject Premises

in the future as mandated by 28 C.F.R. § 36.211.

      WHEREFORE, Plaintiff prays as follows:

      A.     That the Court find Defendant in violation of the ADA and
             ADAAG;

      B.     That the Court enter an Order requiring Defendant to (i)
             remove the physical barriers to equal access and (ii) alter
             the Subject Property to make it readily accessible to and
             useable by individuals with disabilities to the full extent
             required by Title III of the ADA;

      C.     That the Court enter an Order directing Defendant,
             pursuant to 28 C.F.R. § 36.211, to fulfill its continuing
             duty to maintain and repair its accessible features and
             equipment in the future so that its property remains
             accessible to and useable by individuals with disabilities
             in the future, to the full extent required by Title III of the
             ADA;

      D.     That the Court enter an Order directing Defendant to
             implement and carry out effective policies, practices, and
             procedures to maintain and repair its accessible features
             and equipment in the future pursuant to 28 C.F.R. § 36.302
             and 28 C.F.R. § 36.211;



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E.    That the Court enter an Order directing Defendant to
      evaluate and neutralize its policies, practices and
      procedures towards persons with disabilities for such
      reasonable time so as to allow it to undertake and complete
      corrective activity;

F.    That the Court award attorneys’ fees, costs (including
      expert fees), and litigation expenses pursuant to 42 U.S.C.
      § 12205;

G.    That the Court award interest upon the original sums of
      said award of attorneys’ fees, costs (including expert fees),
      and other expenses of suit; and

H.    That the Court award such other relief as the Court deems
      just and proper, and/or is allowable, under Title III of the
      Americans with Disabilities Act.

Respectfully submitted, this the 7th day of June, 2022.


                          By:    s/Andrew J. Smithart III_________________
                                 Andrew J. Smithart III (ASB-4991-T82A)
                                 Attorney for Plaintiff
                                 FULMER LAW FIRM, P.C.
                                 2330 Highland Avenue, South
                                 Birmingham, AL 35205
                                 Office: (205) 210-5555
                                 Direct: (205) 765-8322
                                 Email: ajs@jafulmerlaw.com

                          By:    s/John Allen Fulmer II__________________
                                 John Allen Fulmer II (ASB-1089-O42F)
                                 Attorney for Plaintiff
                                 FULMER LAW FIRM, P.C.
                                 2330 Highland Avenue, South
                                 Birmingham, AL 35205
                                 Office: (205) 210-5555
                                 Email: jaf@jafulmerlaw.com


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